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     UNrtnn Sr¿.rns DrsrRrcr Counr
Fon rnn NoRrnnnN DrsrRrcr or Nnw Yom

JOHN DOE #1, JOHN DOE #2, JOHN DOE
#3, JOHN DOE #4, JOHN DOE #5, JOHN
DOE #6, JOHN DOE #7, JOHN DOE #8,
and JOHN DOE #9,

                              Plaintiffs,                   Case   No.:   5:18-cv-496 (FJS/DEP)


SYRACUSE UNIVERSITY, KENT
SYVERUD, individually and as Chancellor
of Syracuse University, ROBERT
HRADSI(Y, individually and as Syracuse
University Dean of Students and Associate
Vice President of the Student Experience,
and TERESA ABI-NADER DAHLBERG,
individually and as the Dean of the College
of Engineering and Computer Science,

                              Defendants.



            Dncr,an¡.uoN oF K¡.nnN G. FELTaR IN SuppoRT oF PLAINTIFFS'
    Cnoss-MorroN VrA OnnrR To Snow C¿.usr To Vor,uNTARrLy Drsvnss rHE AcrroN
              Wrrnour Pnn¡urrcn Punsu¡,Nr ro FED. R. Crv. P, al@)(2)

       Karen G. Felter, pursuant to 28 U.S.C. ç 1146, declares as follows:

       1.              I am an attomey licensed to practice law in the State of New York and am admitted

to practice in all New York State courts and in the United States District Court for the Northern

District of New York.

       2.              I am a partner in the law firm of Smith, Sovik, Kendrick &   Sugnet, P.C., attorneys

for Plaintifß, JOHN DOES #1 through #9. I am fully familiar with the facts and circumstances

sunounding this case.

       3.              I subrnit this Declaration in support of Plaintiffs' Cross-Motion, fìled by Order   to

Show Cause, to dismiss this action without prejudice.




       {s085 r586.1}                                    1
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       4.                       As    discussed   in the accompanying         Memorandum   of Law, Petitioners have
presented sufficient grounds to voluntarily withdraw their Third Amended Complaint by Court

Order without prejudice pursuant to Fed. R. Civ. P.                      al   @) (2).

       5.                       The following Exhibits are attached to this Declaration:

                                Exhibito'A" Order to Show Cause dated August 28, 2018 submitted by
                                            Respondent/Defendant, Syracuse University, in New York State
                                                  Supreme Court, Jefferson County.

                                         PLAINTIFFS IIAVE ACTED IN GOOD FAITH

       6.                       As the Third Amended Complaint makes clear, this action is for money damages

only. This action presents to request for equitable relief. In contrast, the Article 78 Verified

Petition   is         equally clear that             it   seeks only equitable relief: vacating and annulling the

Defendant/Respondent University's final disciplinary determinations.

       7.                       I   adopt by reference the procedural and factual history stated in my letter to the

Court dated August 30,2018, which details how the preliminary injunctive relief in this action

differs from the stay entered in the Article 78 proceeding. Dkt. #58; see also Dkt.                            # 5l
(incorporated by reference here).

       8.                       Additionally, as discussed in the Declaration of Kevin E. Hulslander, Esq., dated

August 30, 2018, Plaintiffs never made affirmative representations that they would bring their

Article 78 claims here. Dkt. #61 at TT 6-1 1. Furlhermore, even if they did, it would not alter their

right to bring the action in Jefferson County. Id.                      aIl11.




        {s085   1   58ó.1   }                                       2
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               GOOD CAUSE FOR MAKING THIS MOTION BY ORDER TO
             SHO\ry CAUSE EXISTS BECAUSE THE MOTION COULD RESULT
                 IN A VOLUNTARY DISMISSAL WITHOUT PREJUDICE.
               MOOTING DEFENDANTS'      ING ORDE,R TO SHO\il CAUSE

       9.                Defendants' currently-pending motion, brought by Order to Show Cause, seeks to

enjoin a state court from exercising its otherwise valid jurisdiction solely on the basis that this

action is pending. Dkt. # 54.

       10.               Plaintifß' current motion to voluntarily discontinue the action without prejudice

would moot Defendants' motion.

       1   1.            As a result, Plaintiffs have established sufficient cause for making this motion by

an Order to Show Cause.




Dated: August 30,2018
                                                                      Karen




                                                          a
        {s085 1586.r }                                    -)
